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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                                                     :       CR. NO. 21-CR-003 (RCL)
              v.                                     :
                                                     :
JACOB ANTHONY CHANSLEY,                              :
                                                     :
                   Defendant.                        :

              GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING


   “Thank you Heavenly Father for gracing us with this opportunity…to allow us to send a
message to all the tyrants, the communists, and the globalists, that this is our nation, not theirs.
   That we will not allow America, the American way of the United States of America to go
down…Thank you for filling this chamber with Patriots that love you… Thank you for allowing
    the United States of America to be reborn. Thank you for allowing us to get rid of the
              communists, the globalists, and the traitors within our government.


       -    Defendant Jacob Chansley, January 6, 2021, on the Senate Dais inside the U.S.
            Capitol, to rioters gathered in the Senate chamber.


       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits its Sentencing Memorandum as to Defendant Jacob

Chansley (“defendant”). As noted in the Presentence Investigation Report (ECF No. 77), the

defendant faces a United States Sentencing Commission guidelines range of 41 to 51 months’

incarceration and a statutory maximum sentence of 20 years’ incarceration for Count Two of the

indictment, Obstruction of an Official Proceeding. For the reasons set forth below, the United

States respectfully recommends that the Court impose a sentence of 51 months’ imprisonment

followed by three years’ supervised release, and $2,000 restitution.



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INTRODUCTION

   I.        FACTUAL BACKGROUND

        A.     The January 6, 2021 Attack on the Capitol

        On January 6, 2021, hundreds of rioters, Chansley among them, unlawfully broke into the

U.S. Capitol Building in an effort to disrupt the peaceful transfer of power after the November 3,

2020 presidential election. Many rioters attacked and injured law enforcement officers, sometimes

with dangerous weapons; they terrified congressional staff and others on scene that day, many of

whom fled for their safety; and they ransacked this historic building—vandalizing, damaging, and

stealing artwork, furniture, and other property. Although the facts and circumstances surrounding

the actions of each rioter who breached the U.S. Capitol and its grounds differ, each rioter’s actions

were illegal and contributed, directly or indirectly, to the violence and destruction that day. See

United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a

mob without the numbers. The people who were committing those violent acts did so because they

had the safety of numbers.”) (statement of Judge Chutkan).

        On January 6, 2021, a joint session of Congress had convened at approximately 1:00 p.m.

at the U.S. Capitol. Members of the House of Representatives and the Senate were meeting in

separate chambers to certify the vote count of the Electoral College of the November 3, 2020

Presidential election. By approximately 1:30 p.m., the House and Senate adjourned to separate

chambers to resolve a particular objection. Vice President Mike Pence was present and presiding,

first in the joint session, and then in the Senate chamber.

        As the proceedings continued, a large crowd gathered outside the U.S. Capitol. Temporary

and permanent barricades were in place around the exterior of the building, and U.S. Capitol Police

were present and attempting to keep the crowd away from the building and the proceedings
                                            2
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underway inside. At approximately 2:00 p.m., certain individuals, forced their way over the

barricades and past the officers, and the crowd, the defendant among them, advanced to the exterior

of the building. The crowd was not lawfully authorized to enter or remain in the building and, prior

to entering the building, no members of the crowd submitted to security screenings or weapons

checks by U.S. Capitol Police Officers or other authorized security officials.


       The vote certification proceedings were still underway, and the exterior doors and windows

of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to keep the crowd from entering; however, at approximately 2:13 p.m., individuals in

the crowd forced their way inside the building, breaking windows and assaulting law enforcement

officers along the way, while others in the crowd cheered them on.


       At approximately 2:20 p.m., members of the House of Representatives and the Senate,

including the President of the Senate, Vice President Pence, were forced to evacuate the chambers.

All proceedings, including the joint session, were effectively suspended. As law enforcement spent

the next several hours attempting to quell the riot, more than 140 members of law enforcement

were assaulted by the rioters. See Staff of Senate Committees on Homeland Security and

Governmental Affairs and on Rules and Administration Report, Examining the Capitol Attack: A

Review of the Security, Planning, and Response Failures on January 6 (June 7, 2021), at 29,

https://www.hsgac.senate.gov/imo/media/doc/HSGAC&RulesFullReport_ExaminingU.S.Capitol

Attack.pdf. All proceedings of the United States Congress, including the joint session, were

effectively suspended until shortly after 8:00 p.m. Vice President Pence remained in the U.S.

Capitol and grounds from the time he was evacuated from the Senate Chamber until the session

resumed. See Statement of Offense ¶¶ 2-9; PSR ¶¶ 18-24.
                                                 3
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       The attack caused extensive, and in some instances, incalculable losses. This included

wrecked platforms, broken glass and doors, graffiti, damaged and stolen sound systems and

photography equipment, broken furniture, damaged artwork, including statues and murals, historic

lanterns ripped from the ground, and paint tracked over historic stone balustrades and Capitol

Building hallways. See, e.g., Architect of the Capitol, J. Brett Blanton, Statement before the House

of Representatives Committee on House Administration (May 19, 2021), available at

https://www.aoc.gov/sites/default/files/2021-05/AOC_Testimony_CHA_Hearing-2021-05-

19.pdf; United States House of Representatives Curator Farar Elliott, Statement Before the House

Appropriations Subcommittee on the Legislative Branch (Feb. 24, 2021), available at

https://docs.house.gov/meetings/AP/AP24/20210224/111233/HHRG-117-AP24-Wstate-ElliottF-

20210224.pdf (describing damage to marble and granite statues). The substantial damage to the

U.S. Capitol required the expenditure of nearly $1.5 million dollars for repairs.


       The D.C. Circuit has observed that “the violent breach of the Capitol on January 6 was a

grave danger to our democracy.” United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021).

Members of this Court have similarly described it as “a singular and chilling event in U.S. history,

raising legitimate concern about the security—not only of the Capitol building—but of our

democracy itself.” United States v. Cua, No. 21-cr-107, 2021 WL 918255, at *3 (D.D.C. Mar. 10,

2021); see also United States v. Fox, No. 21-cr-108 (D.D.C. June 30, 2021) (Doc. 41, Hrg. Tr. at

14) (“This is not rhetorical flourish. This reflects the concern of my colleagues and myself for what

we view as an incredibly dangerous and disturbing attack on a free electoral system.”); United

States v. Chrestman, No. 21-mj-218, 2021 WL 765662, at *7 (D.D.C. Feb. 26, 2021) (“The actions

of this violent mob, particularly those members who breached police lines and gained entry to the

                                                 4
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Capitol, are reprehensible as offenses against morality, civic virtue, and the rule of law.”).

        B. Defendant’s Role in the January 6, 2021 Attack on the Capitol

        In the weeks leading up to January 6, 2021, the defendant used his social media presence

to spread the type of false information and hateful rhetoric that led thousands of rioters to descend

on the U.S. Capitol on January 6, 2021. The defendant had accrued thousands of followers across

several platforms, including Facebook, Rumble, Parler, and YouTube.




         “We shall have no real hope to survive the enemies arrayed against us until we hang
  the traitors lurking among us.” -Facebook Post from Jacob Chansley, November 19, 2020


        On January 6, 2021, at approximately 1:50 p.m., the defendant was among the rioters at

the police line on the West front of the U.S. Capitol building, where U.S. Capitol Police and

Metropolitan Police were standing in a line behind temporary bike rack style barricades in order

to keep back the crowd. The defendant climbed the media tower erected for the Inauguration,

directly ahead of the police line holding the rioters back at the West front. 1 The defendant was

dressed in a viking hat with fur and horns, was shirtless, wearing red, white and blue face paint,

and carrying an American flag tied to a pole with a spear at the tip and a bullhorn.




1 See submitted Government Exhibit 1.
                                                  5
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 Photograph from The Telegraph of Jacob Chansley on the media tower at the West Front of
                                    the U.S. Capitol

        When rioters then breached the police line at the West front, the defendant entered the

scaffolding erected to the northwest of the plaza, which led to the top of the staircase heading up

to the Lower West Terrace of the U.S. Capitol grounds. The defendant and others were briefly

blocked there by police, before they pushed past the police line at the top of the scaffolding, and

entered the Upper West Terrace of the U.S. Capitol grounds at approximately 2:10 p.m. 2




2 See submitted Government Exhibit 2.
                                                6
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                    Capitol CCTV Camera Upper West Terrace, appx 2:10 p.m.

        The defendant and others in the mob then approached the first floor of the U.S. Capitol

building on the Senate side. 3 Other members of the mob broke two windows and jumped inside

the building at approximately 2:13 p.m., as a lone law enforcement officer attempted to keep the

rioters at bay with pepper spray. Those rioters then broke open the Senate Wing Door to the U.S.

Capitol building, setting off a loud alarm. The defendant then entered through the broken door at

approximately 2:14 p.m. The defendant was among the first 30 rioters inside the U.S. Capitol

building on that day. 4




3 See submitted Government Exhibit 3.
4 See submitted Government Exhibit 4.
                                               7
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                        Capitol CCTV Camera Senate Wing, appx 2:14 p.m.

        At approximately 2:16 p.m., the defendant and other rioters ascended the stairs to the

second floor on the Senate side of the U.S. Capitol building.5 In a clearing on the second floor,

the defendant and other rioters were met by a line of U.S. Capitol Police officers who instructed

them to leave the building peacefully. The defendant challenged U.S. Capitol Police Officer K. R.

to let them pass, ultimately using his bullhorn to rile up the crowd and demand that lawmakers be

brought out.




5 See submitted Government Exhibit 5.
                                               8
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           Getty Images and AFP Photographs of Jacob Chansley on Second Floor of Senate
                   Wing of U.S. Capitol in front of U.S. Capitol Police Officer
        Instead of obeying the instructions of the U.S. Capitol Police to leave the building, the

defendant traversed another staircase to the third floor of the Senate side of the U.S. Capitol

building. At approximately 2:52 p.m., the defendant entered the Gallery of the Senate alone. 6 The




6 See submitted Government Exhibit 6.
                                                9
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defendant then proceeded to scream obscenities in the Gallery, including “time’s up

motherfuckers,” while other rioters flooded the Chamber below. 7




                          Getty Image of Jacob Chansley in Senate Gallery

        The defendant then left the Gallery and proceeded down a staircase in an attempt to gain

entry to the Senate floor. There, the defendant once again encountered Officer K.R., who again

asked him to leave the building. The defendant insisted that others were already on the Senate floor

and he was going to join them. Officer K.R. then followed the defendant on to the Senate floor.

        The defendant then scaled the Senate dais, taking the seat that Vice President Mike Pence

had occupied less than an hour before. 8 The defendant proceeded to take pictures of himself on

the dais and refused to vacate the seat when Officer K. R., the lone law enforcement officer in the

Chamber at the time, asked him to do so. Instead, the defendant stated that “Mike Pence is a




7 See submitted Government Exhibits 7 and 8.
8 See submitted Government Exhibit 9.
                                                10
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fucking traitor” and wrote a note on available paper on the dais, stating “It’s Only A Matter of

Time. Justice Is Coming!” 9




         Note Written by Defendant Chansley at the Senate Dais and Collected by U.S. Capitol
                                          Police
        After Officer K. R. again asked the defendant to vacate the seat, the defendant remained,

calling other rioters up to the dais and leading them in an incantation over his bullhorn, which

included giving thanks for the opportunity “to allow us to send a message to all the tyrants, the

communists, and the globalists, that this is our nation, not theirs, that we will not allow America,

the American way of the United States of America to go down.” The defendant went on to say

“[t]hank you for allowing the United States of America to be reborn. Thank you for allowing us to

get rid of the communists, the globalists, and the traitors within our government.” 10

        Finally, at approximately 3:09 p.m., after Chansley had spent eight minutes on the Senate

floor, other law enforcement officers arrived to support Officer K. R. and clear the defendant and


9 See submitted Government Exhibit 10.
10 See submitted Government Exhibit 11.
                                                11
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other rioters from the Chamber. 11 The defendant screamed “FREEDOM!” into his bullhorn as he

was finally escorted by police from the building, approximately one hour after entering it. The

actions of the defendant and his fellow rioters halted the normal functioning of the Congress on

January 6, 2021, including the certification of the electoral college votes for the 2020 Presidential

Election, and were calculated to do just that.

           In the days after January 6, 2021, the defendant gave interviews to media outlets, 12

including an interview with NBC News in which the defendant stated, “[t]he fact that we had a

bunch of our traitors in office hunker down, put on their gas masks and retreat into their

underground bunker, I consider that a win.” 13 The defendant also called the FBI, and admitted that

he was the horned man on the Senate floor, was glad he sat in the Vice President’s chair because

Mike Pence was a “child trafficking traitor,” and stated that the current government of the United

States was tyrannical, with conditions similar to those prior to the American Revolutionary War.

After his arrest, the defendant also gave an interview to CBS 60 Minutes+ from jail, in which he

minimized his actions on that day, claiming he was let into the building by law enforcement, and

was merely intending “to bring divinity, to bring God back into the Senate.” 14

     II.      PROCEDURAL BACKGROUND

           On January 9, 2021, pursuant to an arrest warrant, the defendant was arrested at the FBI

offices in Phoenix, Arizona. ECF No. 1. On January 11, 2021, the Grand Jury returned an

indictment charging the defendant with, inter alia, obstruction of the Electoral College vote that

took place at the U.S. Capitol on January 6, 2021, to which he has now pleaded guilty. ECF No.



11   See submitted Government Exhibit 12.
12   https://www.telegraph.co.uk/news/2021/01/08/qanon-shaman-claims-like-martin-luther-king-capitol-riot/
13   https://www.nbcnews.com/news/us-news/capitol-rioter-horned-hat-gloats-feds-work-identify-suspects-n1253392
14   https://www.cbsnews.com/news/qanon-shaman-capitol-riot-interview-60-minutes-plus-2021-03-04/
                                                       12
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3. He was also charged with interfering with law enforcement during the course of a civil disorder,

and unlawful presence on U.S. Capitol grounds and inside the U.S. Capitol building. At a detention

hearing held in Arizona on January 15, 2021, the defendant was ordered detained by the

Magistrate. ECF No. 11. The defendant has remained detained through the pendency of this case.

          On May 21, 2021, following an oral motion by the defendant for competency evaluation,

the Court ordered a psychological examination for the defendant. ECF No. 39. On July 13, 2021,

the forensic examiner from the Bureau of Prisons submitted a report to the parties and the Court

concluding that the defendant is competent to stand trial. On September 3, 2021, the defendant

pleaded guilty to Count Two of the indictment. ECF No. 69. The sentencing hearing is set for

November 17, 2021.

   III.      THE PROSECUTION OF THE JANUARY 6, 2021 RIOT

          The Department of Justice began its historic investigation into the attack on the U.S.

Capitol mere hours after the breach occurred on January 6, 2021. To date, the Department has

brought charges by complaint, information, or indictment against approximately 650 defendants.

The charges range from Obstruction of an Official Proceeding, in violation of 18 U.S.C. §

1512(c)(2), and Assaulting, Resisting or Impeding Law Enforcement, in violation of 18 U.S.C. §

111(a) and (b), to Entering and Remaining in a Restricted Building or Grounds, in violation of 18

U.S.C. § 1752(a) and Parading, Demonstrating, or Picketing in a Capitol Building, in violation of

40 U.S.C. § 5104(e). Of those defendants, at least 90 have pleaded guilty to misdemeanor charges

and at least 15 have pleaded guilty to felony charges.

   IV.       STATUTORY PENALTIES

          The defendant now faces sentencing on Obstruction of an Official Proceeding in violation


                                                 13
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of 18 U.S.C. § 1512(c)(2). As noted by the plea agreement and the U.S. Probation Office, the

defendant faces up to 20 years of imprisonment, a fine up to $250,000, and a term of supervised

release of not more than three years for Count Two, Obstruction of an Official Proceeding.

      V.      THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

      As the Supreme Court has instructed, the Court “should begin all sentencing proceedings by

correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines should

be the starting point and the initial benchmark” for determining a defendant’s sentence. Id. at 49.

The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product of careful

study based on extensive empirical evidence derived from the review of thousands of individual

sentencing decisions” and are the “starting point and the initial benchmark” for sentencing. Id. at

49.

           The government concurs with the U.S. Probation Office’s assessment of the defendant’s

criminal history score. ECF No. 77. The defendant has a criminal history score of 0, which

translates to criminal history category I. The government also concurs with Probation’s assessment

of the applicable guidelines, to which the parties had previously agreed in the plea agreement. ECF

No. 69, at 2. According to Probation, the defendant’s base offense level for violation of 18 U.S.C.

§ 1512(c)(2) is 14. Two specific offense characteristics are applicable, which raise the base offense

level: U.S.S.G. §2J1.2(b)(1)(B) because the offense involved causing or threatening to cause

physical injury to a person in order to obstruct the administration of justice, which garners an
                          15
additional 8 points,           and U.S.S.G. § 2J1.2(b)(2) for substantial interference with the


15 The defendant’s threatening language towards lawmakers and the note left for the Vice President of the United
States renders this provision applicable.
                                                       14
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administration of justice, which adds 3 points. 16 With demonstrated acceptance of responsibility,

the total offense level is 22. Based upon a total offense level of 22 and a criminal history category

of I, the defendant’s guideline imprisonment range is 41 months to 51 months. 17

    VI.      SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

          Pursuant to 18 U.S.C. § 3553(a), the court shall impose a sentence that is sufficient, but not

greater than necessary to comply with the purposes of the statute. Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); the need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct, § 3553(a)(6); and

the need to provide restitution, § 3553(a)(7).

          “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying



16 The term “substantial interference with the administration of justice” as defined in the commentary, “include[s] .
. . the unnecessary expenditure of substantial governmental or court resources.” See U.S.S.G. § 2J1.2(b)(2),
Application Note 1. The defendant admitted that he corruptly obstructed and impeded an official proceeding, namely
the certification of the Electoral College vote count. The riot resulted in evacuations, vote count delays, officer
injuries, and nearly $1.5 million in property destruction. As described herein, law enforcement from all over the
D.C. metropolitan area responded to assist in protecting the Capitol from the rioters.
17
    Based on the facts and circumstances of Chansley’s case, the government does not seek imposition of an upward
departure pursuant to U.S.S.G. § 3A1.4 n.4 (see Plea Agreement at ¶IV(C)) because a sentence within the Guidelines
range of 41-51 months is sufficient, but not greater than necessary, to comply with the purposes of sentencing as set
forth in 18 U.S.C. § 3553(a)(2).
                                                        15
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with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96

(2007); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity courts lack to ‘base its

determinations on empirical data and national experience, guided by professional staff with

appropriate expertise,’” and “to formulate and constantly refine national sentencing standards.”

Kimbrough, 552 U.S. at 108. Accordingly, courts must give “respectful consideration to the

Guidelines.” Id. at 101. As the Third Circuit has stressed:

       The Sentencing Guidelines are based on the United States Sentencing
       Commission’s in-depth research into prior sentences, presentence investigations,
       probation and parole office statistics, and other data. U.S.S.G. §1A1.1, intro,
       comment 3. More importantly, the Guidelines reflect Congress’s determination of
       potential punishments, as set forth in statutes, and Congress’s on-going approval of
       Guidelines sentencing, through oversight of the Guidelines revision process. See
       28 U.S.C. § 994(p) (providing for Congressional oversight of amendments to the
       Guidelines). Because the Guidelines reflect the collected wisdom of various
       institutions, they deserve careful consideration in each case. Because they have
       been produced at Congress's direction, they cannot be ignored.

United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that “significantly increases the likelihood that the sentence is a reasonable

one.” Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that might

achieve § 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

       Here, while the Court must balance all of the § 3553 factors to fashion a just and appropriate

sentence, the Guidelines unquestionably provide the most helpful benchmark. As this Court

knows, the government has charged a considerable number of persons with crimes based on the

January 6 riot. This includes hundreds of felonies and misdemeanors that will be subjected to

                                                16
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Guidelines analysis. In order to reflect Congress’s will—the same Congress that served as a

backdrop to this criminal incursion—the Guidelines will be a powerful driver of consistency and

fairness moving forward.

       Defendant Chansley’s now-famous criminal acts have made him the public face of the

Capitol riot. A sentence of 51 months of incarceration, followed by three years of supervised

release, and $2,000 restitution, is appropriate. An application of the facts of this case to the

statutory factors supports this recommendation.

       A.      Nature and Circumstances of the Offense

       The historic January 6, 2021 attack on the U.S. Capitol involved the actions of a mob made

up of thousands. Yet, this Court is tasked with looking at this defendant’s specific conduct as a

part of that mob, to fashion a sentence appropriate to his specific criminal acts, on the spectrum of

conduct present on that day. To do so, this Court, should look to a number of critical factors, to

include: (1) whether, when, how the defendant entered the Capitol building; (2) whether the

defendant engaged in any violence or incited violence; (3) whether the defendant engaged in any

acts of destruction; (4) the defendant’s reaction to acts of violence or destruction; (5) whether

during or after the riot, the defendant destroyed evidence; (6) the length of the defendant’s time

inside of the building, and exactly where the defendant traveled; (7) the defendant’s statements in

person or on social media; (8) whether the defendant cooperated with, or ignored, law enforcement;

and (9) whether the defendant otherwise exhibited evidence of remorse or contrition. While these

factors are not exhaustive nor dispositive, they help to place each individual defendant on a

spectrum as to their fair and just punishment.

       The government cannot overstate the seriousness of the defendant’s conduct as a one of


                                                 17
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the most prominent figures of the historic riot on the Capitol on January 6, 2021. Armed with a

six-foot long spear, the defendant brazenly marched past dozens of law enforcement officers, with

rioters throwing debris of all kind at those who opposed them, past broken windows and through

doors ringing with alarm bells. The defendant was among the first 30 rioters to penetrate the U.S.

Capitol building. The defendant then stalked the hallowed halls of the building, riling up other

members of the mob with his screaming obscenities about our nation’s lawmakers, and flouting

the “opportunity” to rid our government of those he has long considered to be traitors. All of this

took place mere minutes after the Vice President of the United States was evacuated from the

Senate Chamber. The defendant’s consistent argument throughout this case that his actions on that

day were peaceful 18 is undermined by the evidence submitted to this Court, but demonstrative of

a persistent mindset that could lead the defendant to commit similar acts again.

         The defendant’s statements before, during, and after the January 6th riot are also

concerning. The defendant, like every other person in this country, has the right to peaceably

assemble and protest. What he cannot do, as this Court has noted, is storm into the U.S. Capitol

building during a joint session of Congress to stop Congress from certifying the results of a lawful

election. ECF No. 25, at 17. His words, taken in the context of his actions that day, undermine any

suggestion that the defendant breached the U.S. Capitol merely to engage in peaceful, political

commentary on the Senate dais. ECF No. 25, at 19. Unlike those who voice their concerns, or even

their violent hate, towards those in positions of power in this country, with no intention of or ability

to follow through, the defendant spoke his violent hatred while standing in their halls as members



18 See, e.g. ECF No. 12, at 11 (“Please be patient with me and other peaceful people who, like me, are having a
very difficult time piecing together all that happened to us, around us and by us.”); ECF No. 40, at 19 (“The totality
of the video demonstrates a clear granting of permission to Defendant and others to be in the Capitol provided they
were peaceful.”)
                                                          18
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took shelter. His consistent rhetoric before and after the event, and his apparent ability to carry out

his intentions of violently removing the “traitors” in our government, is clear from the evidence in

this case. Only the valiant efforts of law enforcement kept those upon whom he set his sights out

of his path.

        What should have been a day in which Congress fulfilled its solemn, constitutional duty in

certifying the vote count of the Electoral College, ensuring the peaceful transition of power in our

nation, was disrupted by a mob of thousands on January 6, 2021. And this defendant was, quite

literally, their flagbearer.

        B. The History and Characteristics of the Defendant

        The defendant has no criminal history and there is little for the Court to review with respect

to prior contacts with the justice system. Yet, there is much to review with respect to the

defendant’s characteristics and life before his appearance on at the U.S. Capitol on January 6,

2021. The defendant has scant educational and employment history. ECF No. 77, at 14-15. Yet,

he has a large social media following, garnering thousands of Facebook followers and posting in

dozens of groups by January 7, 2021 when the account was disabled. From November 2020

onwards, the defendant posted videos and sent messages across multiple platforms, aimed at

stoking his followers. For example, the defendant posted the following messages in multiple

Facebook groups, linking to videos on YouTube and Rumble:

       November 5, 2020: “This video details the many ways we can use the current voter fraud
& election crisis to the USA's advantage as a way to awaken its citizens. This is an opportunity to
expose the corrupt politicians, the corrupt media, & the corruptible voting system.”

      November 19, 2020: “This video explains how we can all ID the traitors in our government,
news networks, entertainment & corporations. It also gives a detailed description of how we can



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examine these traitor's actions on a grander scale so we may halt their agenda in the USA!”

       November 30, 2020: “What an honor it is to be present for this historic meeting and meet
such awesome patriots in the process! HOLD THE LINE PATRIOTS! USA WILL PREVAIL,
WE WILL STOP THE STEAL! CUZ AS ALWAYS GOD WINS!”

        December 28, 2020: “This video dives deep into the globalist plot for world domination
thru the plandemic & its numerous different agendas. It also explains how the deep state was
created, who in our gov. is responsible for is propagation in the US & what we can do to end it.”


These messages, taken in the context of what actually happened on January 6, 2021, when the

defendant and so many others finally took action on these words, cannot be ignored.

        C.       The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                 and Promote Respect for the Law

        The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.” 19 To be sure, the defendant accepted responsibility for

his conduct by entering a guilty plea and agreed to meet with law enforcement to discuss the events

of January 6, 2021. But these actions pale in comparison to the disrespect the defendant showed

for the law and our democracy on January 6, 2021. The defendant spent approximately one hour

inside the building—from his entrance at the Senate door on the Upper West Terrace 2:14 p.m.

until his escorted exit at the East side of the building almost an hour later—and flouted rules and

law enforcement at every turn. He moved with a mob that pushed past law enforcement multiple

times to make his entrance into the building. He watched as other rioters broke two windows and



19
   Federal Bureau of Investigation Director Christopher Wray, Statement before the House Oversight and Reform
Committee (June 15, 2021) (hereinafter “FBI Director Wray’s Statement”), available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20Testimony.pdf
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entered through a door that was kicked open by another rioter, amidst a loud alarm. He ignored

the repeated requests of Officer K.R. and others to leave the building—from the time the defendant

and Officer K.R. first came face to face at approximately 2:20 p.m., until a swarm of officers

entered the Senate chambers to assist Officer K.R. in evacuating those rioters, including the

defendant, at approximately 3:09 p.m. Even still, the defendant did not leave the U.S. Capitol

grounds until after former President Donald Trump tweeted to the mob to go home. After the

events of the day, the defendant gave multiple interviews to media in which he espoused his belief

that he did nothing wrong. The severity of his actions, and respect for the laws of this country,

must be impressed upon him.

          D.       The Need for the Sentence to Afford Adequate Deterrence

          Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

                                               General Deterrence

          A significant sentence is also needed “to afford adequate deterrence to criminal conduct”

by others. 18 U.S.C. ' 3553(a)(2)(B). The need to deter others is especially strong in cases

involving domestic terrorism, which the breach of the Capitol certainly was. 20 The demands of

general deterrence weigh strongly in favor of incarceration, as they will for nearly every case

arising out of the violent riot at the Capitol. The violence at the Capitol on January 6 was cultivated

to interfere, and did interfere, with one of the most important democratic processes in this nation:


20
     See 18 U.S.C. § 2331(5) (defining “‘domestic terrorism’”).
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the transfer of power. As noted by Judge Moss during sentencing, in United States v. Paul

Hodgkins, 21-cr-188 (RDM):

       [D]emocracy requires the cooperation of the governed. When a mob is prepared to
       attack the Capitol to prevent our elected officials from both parties from performing
       their constitutional and statutory duty, democracy is in trouble. The damage that
       [the defendant] and others caused that day goes way beyond the several-hour delay
       in the certification. It is a damage that will persist in this country for decades.

Tr. 07/19/2021 at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than

it was seven months ago for the United States and our diplomats to convince other nations to

pursue democracy. It means that it will be harder for all of us to convince our children and our

grandchildren that democracy stands as the immutable foundation of this nation.” Id. at 70; see

United States v. Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on this

court have recognized, democracy requires the cooperation of the citizenry. Protesting in the

Capitol, in a manner that delays the certification of the election, throws our entire system of

government into disarray, and it undermines the stability of our society. Future would-be rioters

must be deterred.”) (statement of Judge Nichols at sentencing).

       The gravity of these offenses demands deterrence. This was not a protest. See United States

v. Paul Hodgkins, 21-cr-188 (RDM), Tr. 07/19/2021 at 46 (“I don’t think that any plausible

argument can be made defending what happened in the Capitol on January 6th as the exercise of

First Amendment rights.”). And it is important to convey to future rioters and would-be mob

participants—especially those who intend to improperly influence the democratic process—that

their actions will have consequences. There is possibly no greater factor that this Court must

consider.

                                       Specific Deterrence


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       The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a lengthy term of incarceration. Although the defendant has now

expressed remorse and contrition, his media statements immediately after January 6 were those of

a man gloating over victory in battle. See United States v. Matthew Mazzocco, 1:21-cr-00054

(TSC), Tr. 10/4/2021 at 29-30 (“[The defendant’s] remorse didn’t come when he left that Capitol.

It didn’t come when he went home. It came when he realized he was in trouble. It came when he

realized that large numbers of Americans and people worldwide were horrified at what happened

that day. It came when he realized that he could go to jail for what he did. And that is when he felt

remorse, and that is when he took responsibility for his actions.”) (statement of Judge Chutkan).

       With respect to the need to protect the public from his actions, the Court should consider

both the defendant’s actions on that day, but also the broader danger to our democracy that the

defendant’s actions implicate. The defendant stormed the U.S. Capitol building with a six-foot

spear—an inherently dangerous weapon, as the Court has previously found (ECF No. 25, at 14)—

demanding to see lawmakers and leaving a threatening note for the Vice President of the United

States. That conduct demonstrated dangerousness—as the justice system typically defines the

term—from which the public must be protected.

       However, his actions were dangerous in another way as well. His actions struck at the

roots of our democracy. When rioters flooded the U.S. Capitol and the defendant took the Senate

dais, they accomplished the goal so many could never have imagined—they halted the peaceful

transfer of power upon which our democracy is built. The defendant succeeded in encouraging a

mob of angry citizens in delaying the solemn act of certifying who, in the words of the 12th

Amendment of the Constitution, “having the greatest number of votes for President, shall be the


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President.” U.S. Const. amend. XII (emphasis added). And it would be naïve to assume that this

was an anomalous event in this defendant’s life; he has, long before January 6, drawn attention to

himself and voiced his desire to remove those from our government who he views as traitors. The

threat became action on January 6, 2021.

       The damage done by the defendant and the mob he cheered onward that day will last far

longer than the hours’ delay in the certification of the Presidential election results. Deterrence, for

both this defendant and for others who may take up his banner after his criminal acts, must weigh

heavily on the Court’s sentencing consideration. The world watched the actions of this defendant

and others on January 6, 2021 shake one of the foundations of our democracy—the peaceful

transfer of power after free and fair elections—and has made us all question the safety and security

of the country in which we live. Those enormous harms, borne out of the acts of this defendant,

must be deterred so that we never see a similar assault on our democracy again.

       E.      Avoiding Unwarranted Sentencing Disparities

       The crimes that the defendant and others like him committed on January 6 are

unprecedented. These crimes defy statutorily appropriate comparisons to other obstructive related

conduct in other cases. To try to mechanically compare other § 1512 defendants prior to January

6, 2021, would be a disservice to the magnitude of what the riot entailed and signified.

       As of the date of this sentencing memorandum, only one felony Capitol Riot defendant has

been sentenced – United States v. Paul Hodgkins, 21-cr-188 (RDM). Hodgkins unlawfully entered

the U.S. Capitol at approximately 2:50 p.m. with a Trump flag. Hodgkins also carried a backpack

that had, among other items, protective eye goggles, rope, and white latex gloves. By 3:00 p.m.,

Hodgkins made it to the floor of the Senate, where he took several selfies and stood near defendant


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Chansley on the Senate dais as Chansley led the group in his “invocation.” Hodgkins subsequently

exited the building at approximately 3:15 p.m. There, the United States requested 18 months’

imprisonment and Hodgkins was sentenced to 8 months’ imprisonment. Hodgkins was the first

defendant to be sentenced for a violation of Section 1512(c)(2), having taken very early

responsibility for his actions, and he neither committed nor incited violence on January 6.

       This Court will also hold the sentencing hearing in United States v. Fairlamb, 21-cr-120

(RCL) on November 10, 2021. The government seeks a 44 months’ imprisonment sentence in that

case, in which the defendant has plead guilty to 18 U.S.C. § 1512(c)(2) and 18 U.S.C. § 111(a)(1).

Fairlamb stormed the police line on the West Terrace, where he acquired a police baton. Fairlamb

then entered the U.S. Capitol building, roughly the same time as defendant Chansley, but almost

immediately exited. Approximately ten minutes later, Fairlamb encountered law enforcement

officers attempting to keep rioters from entering the building through the Parliamentarian door.

Subsequently, still on the Terrace outside the Capitol, Fairlamb assaulted a member of law

enforcement, striking him in his face shield. Two days after the riot, on January 8, Fairlamb filmed

a chilling video threatening future violence, stating, “they pulled the pin on the grenade, and the

blackout is coming. What a time to be a patriot.”

       The facts here are different than both Hodgkins and Fairlamb. Long before the events of

January 6th, Chansley had been encouraging his social media followers to “expose the corrupt

politicians, the corrupt media, & the corruptible voting system,” “ID the traitors in our

government,” and “stop the steal.” Chansley armed himself with a six-foot spear before ever

arriving at the Capitol. He was one of the very first rioters inside of the Capitol, and he entered the

Capitol brandishing that weapon. Chansley used his bullhorn to stoke the passions of other rioters


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around him, to spew obscenities and threats in the Senate gallery, and to give the terrifying

invocation upon the Senate dais to the gathered rioters about removing the traitors within the

government. Chansley repeatedly ignored the directions of law enforcement and remained within

the building illegally for almost an hour. Chansley left a threatening note for the Vice President of

the United States while inside the U.S. Capitol on January 6. Finally, Chansley showed no remorse

in the days after the event, gloating to NBC News that the actions of the rioters that day sent our

nations law makers into hiding, with gas masks, retreating into their underground bunker. His

actions demand a significantly lengthier sentence than those sentenced to date. Accordingly, a 51-

month sentence would not create an unwarranted sentencing disparity.

        F.         Restitution

        Finally, 18 U.S.C. 3553(a)(7) requires the Court to consider the need to provide restitution

to any victims of the offense. The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L.

No. 97-291 § 3579, 96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts

with discretionary authority to order restitution to victims of most federal crimes.” 21 United States

v. Papagno, 639 F.3d 1093, 1096 (D.C. Cir. 2011). Generally, restitution under the VWPA must

“be tied to the loss caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411,

418 (1990), identify a specific victim who is “directly and proximately harmed as a result of” the

offense of conviction, 18 U.S.C. § 3663(a)(2), and is applied to costs such as the expenses

associated with recovering from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA

also authorizes a court to impose restitution “in any criminal case to the extent agreed to by the



21 The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at 18 U.S.C. §
3663A), which “requires restitution in certain federal cases involving a subset of the crimes covered” in the VWPA,
Papagno, 639 F.3d at 1096, does not apply here. See 18 U.S.C. § 3663A(c)(1).
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parties in a plea agreement.” See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d

1072, 1078-79 (D.C. Cir. 2008).

        Those principles have straightforward application here. There is no individual official

victim in this case, as the defendant has not been charged with nor pleaded guilty to a physical

assault. The parties agreed, as permitted under 18 U.S.C. § 3663(a)(3), that the defendant must pay

$2,000 in restitution to the Architect of the Capitol, which reflects in part the role the defendant

played in the riot on January 6. 22 Plea Agreement at ¶ XI. As the plea agreement reflects, the riot

at the United States Capitol had caused “approximately $1,495,326.55” in damages, a figure based

on loss estimates supplied by the Architect of the Capitol in mid-May 2021.

        The sentence of this Court must drive home this fact for this defendant, and any others who

may wish to emulate him: crimes committed against this country and democracy will be prosecuted

and punished in accordance with the law. The government asks for such a sentence here.

                                                   CONCLUSION

        For the foregoing reasons, the government requests that the Court sentence the defendant

to 51 months of incarceration, three years of supervised release, and $2,000 in restitution. The

government submits that such a sentence would be an appropriate one, which would serve to

protect the community, punish the defendant for his criminal conduct, and deter others from

committing similar offenses. Finally, the government argues that a sentence of less than 51 months

of incarceration would be insufficient to impress upon the defendant the seriousness of his actions

and ensure the safety of the nation.



22 Unlike under the Sentencing Guidelines for which (as noted above) the government does not qualify as a victim,
see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can be a “victim” for purposes of the
VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9 (D.D.C. 2012) (citations omitted).
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